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 4
     Attorney for Defendant
 5
     FRED PINEDA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-134-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     FRED PINEDA,                                   )       Date: July 8, 2014
                                                    )       Time: 9:30 a.m.
13
                                                    )       Judge: John A. Mendez
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for July 8, 2014. Counsel for
20              the parties request the date for judgment and sentencing be continued to
21              August 5, 2014, at 9:30 a.m. Counsel for Mr. Pineda needs additional time to meet
22              with Mr. Pineda, review the PSR; discuss the findings and recommendations therein;
23              and, research and draft formal objections as necessary. Assistant U.S. Attorney
24              Michael Beckwith and USPO Ronnie Preap have been advised of this request and
25              have no objection. The parties requests the Court adopt the following schedule
26              pertaining to the presentence report:
27
                Judgment and Sentencing date:                                       8/05/14
28
                Reply, or Statement of Non-Opposition:                              7/29/14


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 1
               Motion for Correction of the Presentence Report
 2             Shall be filed with the Court and served on the
               Probation Officer and opposing counsel no later than:         7/22/14
 3
               The Presentence Report shall be filed with the Court
 4
               And disclosed to counsel no later than:                       n/a
 5
               Counsel’s written objections to the Presentence Report
 6             Shall be delivered to the probation officer and opposing
 7
               Counsel no later than:                                        n/a

 8             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       n/a
 9

10

11

12      IT IS SO STIPULATED.
13
     Dated: June 27, 2014                                       /s/ John R. Manning
14                                                             JOHN R. MANNING
                                                               Attorney for Defendant
15                                                             Fred Pineda
16

17   Dated: June 27, 2014                                      Benjamin B. Wagner
                                                               United States Attorney
18
                                                        by:    /s/ Michael Beckwith
19
                                                               MICHAEL BECKWITH
20                                                             Assistant U.S. Attorney

21

22
                                                ORDER

23
           IT IS SO FOUND AND ORDERED this 30th day of June, 2014.
24

25
                                                        /s/ John A. Mendez____________
26                                                      HON. JOHN A. MENDEZ
                                                        U.S. DISTRICT COURT JUDGE
27

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